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Eubank v Pella Corporation Settlement Administrator

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UL 06 2018

THOMAS G BRUTON
Jun€ 29,2018 CLERK, U.S. D|STR|CT COURT

PO Box 404041

Louisville, Ky. 40233-4041

Dear Administrator,

We are seeking a waiver of the June 20, 2018 deadline for filing of claims in the Eubanks vs Pella
class action law suit.

l learned that this case had been settled from an on-line search on June 27th, 2018. We had
been a member of this class since at least 2013 when we first sent voluminous documentation
of our claim to EPlQ, the first claims administrator, in Portland Oregon. (We are in a receipt of
an email from the Complex Litigation group, formerly Freed and Weiss, which l believe was co-
counsel George Lang's firm, acknowledging our previous contact in October 2012, and updating
us on the case) Our claim documentation was received by Steve Patterson on May30, 2013, at
the EPlQ, Portland Oregon office, well within that first filing deadline for claims.

On iune 27th, 2018, we contacted Sarah Marquez at C|ifford Law Firm, havingjust learned of
the settlement by an on-line search. We had been in contact with her previous|y. We
contacted Clifford Law Firm after we were informed of the order of Judge Zagel appointing new
lawyers in the case in late 2014 (my notes would indicate that l talked to a Colleen). in
November of 2015, we submitted a "Potential Pella Class Member inquiry" to C|ifford Law
Firm, with a note that we were part of the initial suit, and that documentation had been sent to
Oregon, previously (we have a fax log confirmation of the fax being successfully sent) . in
January 2017, we emailed the law firm to inform it of a change of address and ask for an update
on the case. in August 2017, when we did our yearly check for information on the suit, we
were informed that the law office had no record of usl Ms. Marquez apologised, and asked that
we complete a new intake form, which we did. Her email said that we would be added to the
firm‘s data base. (documents included) However, when it came time notify the class of the
settlement and filing deadlines, we WERE hiOT NOTlFlED!

On June 27th, l contacted KCC, Pella, and Ms'. Marquez via email. Hearir§ nothing from KCC,
today, l called the 866-381-9100 number and spoke to a woman b`y the name of Nicole. l told
her our situation and asked for guidance. She confirmed that a notice was NOT sent to our

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North Caro|ina address, but was sent to our old address in Rock Fa|ls, long past any forwarding
window, assuming post cards are forwarded. She told me to file a claim, but that she could not
assure me that it would be accepted -- "We have deadlines for a reason," she quipped. Please
refer to enclosed documentation and please contact us with any questions.

Respectfully,

Penie von Bergen Wessels pennie.4549@gmai|.com 815-677-4549
Michael J. Wessels wesselsm70@gmail.com 815-677-4548
6581 Willowbank Pl, SW

Ocean isle Beach, NC 28469

(formerly 2245 River View Drive, Rock Falls, ll 61071)

cc: Robert A. Clifford, Clifford Law Offices

Clerk of the Court, Northern District of l||linois, Eastern Division

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